                           Case 25-30155 Document 131-1 Filed in TXSB on 06/04/25 Page 1 of 2
Label Matrix for local noticing                      ALLIANCE FARM AND RANCH, LLC                         Alliance Energy Partners, LLC
0541-4                                               5450 Honea Egypt Rd                                  20008 Champions Forest Dr.
Case 25-30155                                        Montgomery, TX 77316-2364                            Suite 1203
Southern District of Texas                                                                                Spring, TX 77379-8697
Houston
Wed Jun 4 15:41:39 CDT 2025
(p)KEAN MILLER LLP                                   Patriot Drilling Services LLC                        4
ATTN ATTN LLOYD A LIM AND RACHEL K THOMPSON KUBAND   c/o William R. Sudela                                United States Bankruptcy Court
711 LOUISIANA STREET                                 Crady Jewett McCulley & Houren LLP                   PO Box 61010
SUITE 1800 SOUTH TOWER                               2727 Allen Parkway, Suite 1700                       Houston, TX 77208-1010
HOUSTON TX 77002-2716                                Houston, TX 77019-2125

Alliance Energy Partners, LLC                        Alliance Energy Resources LLC                        Amerisource Funding, Inc.
5450 Honea Egypt Rd                                  c/o Idomeia Gibson                                   P.O. Box 4738
Montgomery, TX 77316-2364                            2700 Industrial Ln                                   Houston TX 77210-4738
                                                     Conroe, TX 77301-4072


Dustin Etter                                         Erik and Darla Ostrander                             Reagan H. ’Tres’ Gibbs, III
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2520 Caroline, 2nd Floor                                                                                  Houston, TX 77010-3039
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Timothy L. Wentworth                                 Triumph Express Oilfield LLC                         US Trustee
Okin Adams Bartlett Curry LLP                        15805 Archduke Dr                                    Office of the US Trustee
1113 Vine St., Suite 240                             Houston, TX 77032-1501                               515 Rusk Ave
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United States Trustee’s Office                       Deborah Louise Crain                                 Eric Terry
515 Rusk St., Suite 3516                             E-Merger.Law                                         Howley Law PLLC
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                                                     Suite 2314                                           Houston, TX 77002-2869
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Thomas A Howley                                      Timothy L. Wentworth
Howley Law PLLC                                      Okin Adams, LLP
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


DrilTech, LLC
C/O Rachel Kubanda
711 Louisiana Street
Suite 1800
Houston, TX 77002




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
                        Case 25-30155 Document 131-1 Filed in TXSB on 06/04/25 Page 2 of 2
(u)KLEIN INDEPENDENT SCHOOL DISTRICT      (u)Official Committee of Unsecured Creditors   (u)Okin Adams Bartlett Curry LLP




(d)Alliance Energy Partners, LLC          (d)Alliance Farm and Ranch, LLC                (u)Dustin Etter
20008 Champions Forest Dr., Suite 1203    5450 Honea Egypt Rd.
Spring, TX 77379-8697                     Montgomery, TX 77316-2364



(u)Erik and Darla Ostrander               End of Label Matrix
                                          Mailable recipients    19
                                          Bypassed recipients     7
                                          Total                  26
